                    Case: 1:22-cv-00188 Document #: 9 Filed: 01/21/22 Page 1 of 2 PageID #:65
,9!))'!!"<FW%!'*&''#!=VNNPOT!JO!B!.JWJM!,DUJPO



                                        ?84>0/!=>,>0=!/4=><4.>!.9?<>
                                                    89<>30<8!/4=><4.>!91!4664894=!



                                                                           /1++-,/!),!"!$)2)*!$"/&
Forest River Farms

                                                                 .,=0!8?7-0<+        1:22-cv-00188
                                 @%                              ,==4280/!5?/20+
                                                                                     Honorable Martha M. Pacold
 Deere & Co. (d/b/a John Deere)
                                                                 /0=428,>0/!
                                                                 7,24=><,>0!5?/20+ Honorable Maria Valdez


                    >9+!"8BNF!BOE!BEESFTT!PG!/FGFOEBOU#
        Deere & Co.
        (d/b/a John Deere) c/o Todd E. Davies
        One John Deere Place
        Moline, IL 61265

          3-1!".&!(&.&#3!/1++-,&%!BOE!SFRVJSFE!UP!TFSWF!VQPO!;6,48>411[=!,>>9<80A!"OBNF!BOE!BEESFTT#

                 Wexler Boley & Elgersma LLP
                 55 West Monroe St., Suite 3300
                 Chicago, IL 60603



                                                                                21
BO!BOTXFS!UP!UIF!DPNQMBJOU!XIJDI!JT!IFSFXJUI!TFSWFE!VQPO!ZPV$                                 EBZT!BGUFS!TFSWJDF!PG!UIJT
TVNNPOT!VQPO!ZPV$!FYDMVTJWF!PG!UIF!EBZ!PG!TFSWJDF%!!4G!ZPV!GBJM!UP!EP!TP$!KVEHNFOU!CZ!EFGBVMU!XJMM!CF!UBLFO!BHBJOTU!ZPV!GPS
UIF!SFMJFG!EFNBOEFE!JO!UIF!DPNQMBJOU%!!APV!NVTU!BMTP!GJMF!ZPVS!BOTXFS!XJUI!UIF!.MFSL!PG!UIJT!.PVSU!XJUIJO!B!SFBTPOBCMF
QFSJPE!PG!UJNF!BGUFS!TFSWJDF%




     THOMAS G. BRUTON, CLERK

                                                                                       January 13, 2022

     (By) DEPUTY CLERK                                                                 DATE
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